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                                                                   FILED: September 7, 2022

                             UNITED STATES COURT OF APPEALS
                                 FOR THE FOURTH CIRCUIT

                                       ___________________

                                          No. 22-1340 (L)
                                          (05-ca-248026)
                                       ___________________

        BARDON, INC., d/b/a Aggregate Industries

                      Petitioner
        v.

        NATIONAL LABOR RELATIONS BOARD

                      Respondent

        INTERNATIONAL BROTHERHOOD OF BOILERMAKERS, IRON SHIP
        BUILDERS, BLACKSMITHS, FORGERS AND HELPERS, AFL-CIO, CLC

                      Intervenor

                                       ___________________

                                            ORDER
                                       ___________________

               Upon consideration of submissions relative to the motion to file separate

        briefs, the court grants the motion, and accepts Intervenor’s brief as filed.

               All parties to a side shall continue to share time for oral argument provided

        by this court's Local Rule 34(d).

                                                  For the Court--By Direction

                                                  /s/ Patricia S. Connor, Clerk
